Case 3:19-cv-00418-REP-RCY Document 12 Filed 11/08/19 Page 1 of 2 PageID# 70




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division


UHURU BARAKA ROWE,

        Plaintiff,

V.                                                                       Civil Action No.3:19CV418

GREGORY L. HOLLOWAY,et ah.

        Defendants.




                                    MEMORANDUM ORDER
                               (Assessing Initial Partial Filing Fee)

        Plaintiff has complied with the prior Memorandum Order. Accordingly, it is ORDERED

that:


        1.      Within eleven(11)days ofthe date of entry hereof, Plaintiff must submit an initial

partial filing fee of S17.75 or state under penalty of perjury that he does not have sufficient assets

to pay such a fee. See 28 U.S.C. § 1915(b)(1).

        2.      Plaintiff remains liable for the entire filing fee of $350.00. After Plaintiff pays the

initial partial filing fee or it is waived,the Court will contact Plaintiffs place ofincarceration. The

institution will then forward to the Court twenty percent (20%) of all deposits into Plaintiffs

account until the full $350.00 filing fee is paid.

        3.      If Plaintiff is unable or imwilling to comply with any of the above procedures, he

may move to voluntarily dismiss the action. If Plaintiff so moves, he will be relieved ofthe filing

fee for the present action. If Plaintiff persists in prosecuting the action or fails to
Case 3:19-cv-00418-REP-RCY Document 12 Filed 11/08/19 Page 2 of 2 PageID# 71




voluntarily dismiss the action within eleven (11) days of the date of entry hereof, he will be

responsible for paying the entire filing fee.

       The Clerk is DIRECTED to send a copy ofthis Memorandum Order to Plaintiff.

       It is so ORDERED.


                                                                 /s/   L
                                                  Roderick C. Young
                                                  United States Magistrate Judge

Date: November 21.2019
Richmond, Virginia
